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B O I E S




                   16
                   17                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   18 BROIDY CAPITAL MANAGEMENT
                   19 LLC, ELLIOTT BROIDY, and ROBIN Case No. 2:18-CV-02421-JFW-(Ex)
                      ROSENZWEIG,
                   20                                  The Honorable John F. Walter
                                  Plaintiffs,
                   21                                  REPLY MEMORANDUM OF
                           v.                          POINTS AND AUTHORITIES IN
                   22 STATE OF QATAR, STONINGTON       SUPPORT OF PLAINTIFFS’ EX
                                                       PARTE APPLICATION FOR
                      STRATEGIES     LLC,
                   23 MUZIN, and DOES 1-10, NICOLAS D. (1) TEMPORARY RESTRAINING
                                                       ORDER AGAINST DEFENDANTS;
                   24 Defendants.                      (2) ORDER TO SHOW CAUSE FOR
                                                       PRELIMINARY INJUNCTION;
                   25                                  AND (3) ORDER GRANTING
                                                       EXPEDITED DISCOVERY
                   26                                                [Declarations of Lee Wolosky and
                   27                                                Samuel Miller Kleiner filed
                                                                     concurrently herewith]________
                   28
                          REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
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                    1 I.        INTRODUCTION
                    2           Shortly after receiving the opposition brief filed by the State of Qatar,
                    3 Counsel for Plaintiffs, in order to promote judicial efficiency and avoid unnecessary
                    4 motion practice, offered to stay consideration of Plaintiffs’ Application for a
                    5 Temporary Restraining Order, Order to Show Cause for a Preliminary Injunction,
                    6 and Order Granting Expedited Discovery as against the State of Qatar until such
                    7 time as the jurisdictional issues raised by the State of Qatar can be resolved through
L L P




                    8 a motion to dismiss. Supplemental Declaration of Lee Wolosky (“Supp. Wolosky
F L E X N E R




                    9 Decl.”) ¶ 3 and Exhibit 1. In exchange, Plaintiffs asked for assurances that ongoing
                   10 unlawful access to Plaintiffs electronic data was not ongoing. Id. ¶ 4 and Exhibit 1.1
                   11 Plaintiffs made this request in part because nowhere in the State of Qatar’s
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                   12 opposition brief does it ever deny engaging in such unlawful conduct. As of the
                   13 present time, the State of Qatar has not agreed to Plaintiffs’ proposal. Id. ¶ 5 and
                   14 Exhibit 3. As a result, Plaintiffs will continue to seek injunctive relief and limited
                   15 expedited discovery of Defendants Muzin and Stonington for the reasons stated in
B O I E S




                   16 their opening papers and as set forth below.
                   17 I.        ARGUMENT
                   18           A.    The Foreign Sovereign Immunities Act Does Not Deprive the Court
                   19                 of Subject Matter Jurisdiction Because the Noncommercial Torts
                   20                 Exception Applies
                   21           The State of Qatar argues that the non-commercial tort exception to the
                   22 Foreign Sovereign Immunities Act (“FSIA”) does not apply under the circumstances
                   23 of this case because Plaintiffs allege that some actions taken by the State of Qatar
                   24
                   25
                        1
                        Plaintiffs also asked the State of Qatar to drop its opposition to limited expedited
                   26 discovery against Defendants Stonington and Muzin, and/or to explain the basis for
                   27 its objections to such discovery with greater particularity. Supp. Wolosky Decl. ¶ 5
                      and Exhibit 1.
                   28                                             -1-
                            REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
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                    1 occurred outside of the United States and because Plaintiffs seek injunctive relief
                    2 from this Court as well as money damages. Neither argument has merit.
                    3               1.     Plaintiffs Allege Sufficient Acts by the State of Qatar Within
                    4                      the U.S. to Satisfy the Noncommercial Tort Exception
                    5         The State of Qatar’s primary argument that the noncommercial torts
                    6 exception to FSIA does not apply is that some allegedly tortious conduct at issue in
                    7 this case occurred in Qatar. Qatar Opp. at 5-6. This interpretation of the FSIA is
L L P




                    8 contrary to the Ninth Circuit’s as laid out in Olsen ex rel. Sheldon v. Government of
                    9 Mexico, 729 F.2d 641, 646 (9th Cir. 1984), abrogated on other grounds as stated in
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                   10 Joseph v. Office of Consulate General of Nigeria, 830 F.2d 1018, 1026 (9th Cir.
                   11 1987). In Olsen, the Ninth Circuit found that the noncommercial torts exception
                   12 applied to claims arising from a plane crash in the United States of a flight that
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                   13 originated in Mexico, was caused in part by negligent conduct in Mexico, and was
                   14 supposed to land in Mexico. Id. As here, Mexico argued that “because some
                   15 allegedly tortious acts or omissions took place outside the United States—such as
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                   16 the maintenance of the aircraft and the inoperative radar at Tijuana airport—Mexico
                   17 should be immune.” Id. The Ninth Circuit rejected this argument, reasoning:
                   18         By requiring every aspect of the tortious conduct to occur in the United
                              States, a rule such as in SEDCO would encourage foreign states to
                   19
                              allege that some tortious conduct occurred outside the United States.
                   20         The foreign state would thus be able to establish immunity and
                              diminish the rights of injured persons seeking recovery. Such a result
                   21
                              contradicts the purpose of the FSIA, which is to “serve the interests of
                   22         justice and ... protect the rights of both foreign states and litigants in
                              United States courts. Id.
                   23
                   24         The court then concluded that because one alleged tort – negligent piloting of
                   25 the aircraft – occurred in the United States, it could exercise jurisdiction over the
                   26 entirety of the foreign state’s conduct. Id. Here, although aspects of Qatar’s alleged
                   27 tortious misconduct may have occurred abroad, Plaintiffs also allege that at least one
                   28                                             -2-
                          REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
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                    1 entire tort – civil conspiracy – occurred in the United States. Plaintiffs allege that
                    2 the State of Qatar hired its registered-foreign-agent co-defendants Nicolas Muzin
                    3 and Stonington Strategies, LLC in the United States to participate in a wide-ranging
                    4 conspiracy against Plaintiffs. Complaint ¶¶ 52b, 68, 74-77 [ECF No. 1 at 15, 22,
                    5 23-25].2 The formation and execution of this conspiracy included meetings at the
                    6 State of Qatar’s embassy in Washington, D.C.3 at which meetings Plaintiff Broidy’s
                    7 opposition to the State of Qatar was discussed. Id. ¶ 78; Declaration of Joel
L L P




                    8 Mowbray (“Mowbray Decl.”) ¶ 22 [ECF No. 31-4 at 9]. Plaintiffs also allege that,
                    9 after Plaintiffs’ electronic data was illegally obtained by Defendants, stolen, altered,
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                   10 and forged materials were disseminated to United States media outlets by someone
                   11 whose computer was configured for a time zone corresponding to time zones in the
                   12 United States. Declaration of J. Luke Tenery (“Tenery Decl.”) ¶ 15 [ECF No. 31-5
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                   13 at 7]. The conspiracy included unlawful access to and hacking of computers
                   14 belonging to Plaintiffs located in the Central District of California. This is sufficient
                   15 to establish a civil conspiracy claim against Qatar occurring in the United States at
B O I E S




                   16 this stage under the standard set out in Olsen.
                   17
                   18
                   19
                        2
                   20   Indeed, according to public filings, the State of Qatar raised Muzin and
                      Stonington’s monthly compensation from $50,000 to $300,000 immediately after
                   21 the conspiracy was agreed to, and shortly before the hacking began. Wolosky Decl.
                   22 ¶ 18 & Exhibit 20 [ECF No. 31-8 at 7; ECF No. 31-9 at 105].
                   23 Foreign embassies sit within a host country’s territory. See Galvin v. United States,
                      3

                      859 F.3d 71, 74 (D.C. Cir. 2017) (rejecting Federal Tort Claims Act (“FTCA”) case
                   24 arising from injuries suffered in U.S. embassy in Haiti in part because under the
                   25 Vienna Convention on Diplomatic Relations, “foreign embassies sit within the host
                      country’s territory”); cf. Persinger v. Islamic Republic of Iran, 729 F.2d 835 (D.C.
                   26 Cir. 1984), cert. denied, 105 S. Ct. 247 (1984) (holding FSIA non-commercial torts
                   27 exception did not apply to torts taking place in U.S. embassy located in Iran because
                      embassy was not within the United States).
                   28                                             -3-
                            REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
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                    1                2.    The Noncommercial Tort Exception Applies Here Because
                    2                      Plaintiffs Seek Both Monetary and Injunctive Relief
                    3         The State of Qatar also argues that “[t]he noncommercial tort exception of the
                    4 FSIA applies only to claims for monetary damages.” Qatar Opp. 12:16 (emphasis in
                    5 original). In support, it first cites to the statutory provision for the noncommercial
                    6 tort exception, which limits the reach of that exception to “any case … in which
                    7 money damages are sought.” 28 U.S.C. § 1605(a)(5). The State of Qatar reads that
L L P




                    8 phrase as providing that a Plaintiff can seek “only” money damages, reading text
                    9 into the statute that does not exist. Plaintiffs here seek both “injunctive relief and
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                   10 monetary damages.” Complaint at 1. The case therefore is one “in which money
                   11 damages are sought,” satisfying that requirement of 28 U.S.C. § 1605(a)(5).
                   12         NML Capital, Ltd. v. Spaceport Systems International, L.P., 788 F. Supp. 2d
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                   13 1111 (C.D. Cal. 2011) does not read textual limitations into FSIA and does not
                   14 concern the non-commercial tort exception, but addresses immunity “‘from
                   15 attachment[,] arrest and execution.’” NML Capital, 788 F. Supp. 2d at 1119 (quoting
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                   16 28 U.S.C. § 1609) (alteration in NML Capital). The case does not address what
                   17 types of relief may be sought, and it is irrelevant to this case.
                   18         Finally, the State of Qatar relies on a several claims under the Federal Torts
                   19 Claims Act. These cases are inapposite, as the FTCA does not address the same
                   20 statutory language at issue here. The FTCA waives sovereign immunity for “civil
                   21 actions on claims against the United States[] for money damages,” while the FSIA
                   22 non-commercial tort exception applies to “cases . . . in which money damages are
                   23 sought.” 28 U.S.C. § 1346(b)(1); 28 U.S.C. § 1605(a)(5). Although it is true that in
                   24 some circumstances courts rely on FTCA cases to interpret the characterization of
                   25 causes of action, see de Sanchez v. Banco Central De Nicaragua, 770 F.2d 1385,
                   26 1398-99 (5th Cir. 1985), the State of Qatar cites no precedent for applying FTCA
                   27 cases to interpret the “money damages” requirement of 28 U.S.C. § 1605(a)(5).
                   28                                             -4-
                          REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
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                    1           B.    The State of Qatar Is Subject to Personal Jurisdiction in This Court
                    2           As the State of Qatar acknowledges, Qatar Opp. Br. 8:11-15, at the time of
                    3 Plaintiffs’ application for injunctive relief, Plaintiffs were in the process of serving
                    4 the State of Qatar in accordance with FSIA. That process is now completed.
                    5 Pursuant to the requirements for service under the FSIA, 28 U.S.C. § 1608(a)(3),
                    6 Plaintiffs have “sen[t] a copy of the summons and complaint and a notice of suit,”
                    7 id., in both English and Arabic, to the Foreign Minister of Qatar via the Clerk of
L L P




                    8 Court for the Central District of California. See Declaration of Samuel Kleiner
                    9 (“Kleiner Decl.”) ¶¶ 2-4. The office of the Clerk of Court has represented to
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                   10 Plaintiffs’ Counsel it has received the package and will a docket entry will reflect
                   11 when it has dispatched the package to the State of Qatar. Id. ¶ 5. 4
                   12           C.    Plaintiffs Have Made the Required Showing for a Temporary
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                   13                 Restraining Order Pending a Hearing on a Preliminary Injunction
                   14                 1.     Plaintiffs Are Likely to Succeed on their Claims
                   15           In dismissing the evidence against it, the State of Qatar gives short shrift to
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                   16 the statement of its own registered agent, Defendant Muzin, that acknowledges
                   17 unlawful activity by the State of Qatar. As previously explained, shortly after the
                   18 attacks on Plaintiffs began, Defendant Muzin expressed knowledge that the State of
                   19 Qatar was targeting Plaintiff Broidy, including through hacks. “Mowbray Decl.”
                   20 ¶¶ 13, 22-24, 28 [ECF No. 31-4 at 6-7, 9-10]. Defendant Muzin further expressed
                   21 knowledge of the use of the emails and documents taken from those attacks prior to
                   22 that information being published in the press. Id. ¶¶ 13, 17 [ECF No. 31-4 at 6-7].
                   23 He also admitted to Mr. Mowbry that the State of Qatar was “after you and Broidy,”
                   24 id. ¶ 23 [ECF No. 31-4 at 9], and acknowledged that the persons he had identified to
                   25
                        The State of Qatar’s argument that it is not subject to personal jurisdiction because
                        4
                   26
                      the non-commercial tort exception to FSIA does not apply fails for the reasons
                   27 explained in Part A above.
                   28                                               -5-
                            REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
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                    1 the State of Qatar as hurdles to their goals, including Broidy, were “in danger[.]” Id.
                    2 ¶ 24. Defendant Muzin’s admissions are far from speculative: his status as a
                    3 registered agent of the State of Qatar, speaking about actions taken by his principal,
                    4 makes his admissions highly compelling. Moreover, the veracity of his statements
                    5 is enhanced by the fact that, shortly before the start of the first known attack on
                    6 Plaintiffs, the State of Qatar increased the monthly compensation of Defendants
                    7 Stonington and Muzin six-fold – from $50,000 a month to $300,000 a month.
L L P




                    8 Wolosky Decl. ¶ 18 & Exhibit 20 [ECF No. 31-8 at 7; ECF No. 31-9 at 105].
                    9         The State of Qatar further ignores the analysis of Luke Tenery, an expert in
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                   10 computer forensics. Tenery Decl. ¶ 3 [ECF No. 31-5 at 3]. Mr. Tenery’s analysis of
                   11 the IP addresses that engaged in the unauthorized access of Plaintiffs’ computer
                   12 systems demonstrated that addresses from Europe were behind the attack but in two
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                   13 brief instances “a Qatar source IP registered to a physical location in Doha, Qatar”
                   14 was revealed to be the source behind the unauthorized access. Id. ¶ 11 [ECF No.
                   15 31-5 at 5]. The State of Qatar’s suggestion that this might have been a red herring
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                   16 ignores Tenery’s expert conclusion that the “nature of the Qatar IP discovery is
                   17 consistent with the attacker's system configuration losing its obfuscation ability and
                   18 exposing the true origin of the attacker by mistake.” Id. Combined with the clear
                   19 motivation that the State of Qatar has to undermine Broidy, see Complaint ¶¶ 58-68
                   20 [ECF No. 1 at 18-22], and the admissions by Defendant Muzin, this evidence
                   21 strongly suggests that Plaintiffs will succeed on the merits of their claims against the
                   22 State of Qatar, and at a minimum demonstrates a “serious question” as to liability on
                   23 the sliding scale applicable here.
                   24               2.     Plaintiffs Will Suffer Irreparable Harm Without Interim
                   25                      Relief
                   26         The State of Qatar does not dispute that the harm identified by Plaintiffs, see
                   27 Broidy Decl. at ¶¶ 21-23 [ECF No. 31-6 at 9-10]; Pl. Memo. at 17-18 [ECF No. 31-
                   28                                             -6-
                          REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
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                     1 1 at 24-25], is irreparable. Rather, it disputes whether the harm will continue to
                     2 occur, and cites to City of Los Angeles v. Lyons, 461 U.S. 95 (1983), for the
                     3 unremarkable holding that “[p]ast exposure to illegal conduct does not in itself show
                     4 a present case or controversy regarding injunctive relief . . . if unaccompanied by
                     5 any continuing, present adverse effects.” Id. at 95-96 (quoting O’Shea v. Littleton,
                     6 414 U.S. 488, 495-96 (1974)). Contrary to the assertions of the State of Qatar,
                     7 Plaintiffs have provided ample evidence that the campaign against Broidy is
L L P




                     8 ongoing, and defendant’s counsel has declined to date to make a simple
                     9 representation that it is not. Supp. Wolosky Decl. ¶¶ 4-5 and Exhibit 3. The
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                    10 releases of Plaintiffs’ stolen, altered and forged communications were not released
                    11 in a single dump on media outlets, but have been released piecemeal and on a
                    12 staggered basis. See Declaration of Elliott Broidy (“Broidy Decl.”) ¶ 22 [ECF No.
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                    13 31-6 at 9-10]; see also Mowbray Decl. ¶ 30 [ECF No. 31-4 at 11] (Defendant Muzin
                    14 stated that “there’s a lot more coming.”); Wolosky Decl. ¶ 4 [ECF No. 31-8 at 3].
                    15 Media reports regarding the releases have continued. As recently as March 25,
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                    16 2018, the New York Times reported that “an anonymous group critical of Mr.
                    17 Broidy’s advocacy of American foreign policies in the Middle East” has been
                    18 sending “documents, which included emails, business proposals and contracts” to
                    19 reporters. David D. Kirkpatrick and Mark Mazetti, “How 2 Gulf Monarchies
                    20 Sought to Influence the White House,” New York Times, Mar. 25, 2018. And on
                    21 March 29, 2018, Newsweek released a story based on emails purportedly from
                    22 Plaintiffs that had been sent to Newsweek “from an anonymous ProtonMail
                    23 account.” Greg Price, “Top Trump Fundraiser Helped Congressman’s Wife Land
                    24 State Department Job,” Newsweek, March 29, 2018. Moreover, as late as April 3,
                    25 2018, media inquiries relating to the hack were continuing. Supp. Wolosky Dec. ¶ 6
                    26 and Exhibits 4-5. The State of Qatar presents no evidence to the contrary. The
                    27 pattern of releases of Plaintiffs’ information to the media, coupled with ongoing
                    28                                            -7-
                          REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
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                     1 interest by the media in Plaintiff Broidy and his activities strongly suggest that more
                     2 leaks are imminent. The same evidence, coupled with Plaintiff Broidy’s explanation
                     3 of harms suffered, demonstrates “continuing, present adverse effects” from the
                     4 disclosures of Plaintiffs’ emails and documents.
                     5                3.    The Balance of Equities Supports Granting the Temporary
                     6                      Restraining Order
                     7         The State of Qatar does not dispute that it has no legitimate interest in
L L P




                     8 continuing its unlawful activities, and argues only that the relief sought could harm
                     9 the State of Qatar’s foreign relations with the U.S. It notably provides no evidence
F L E X N E R




                    10 or support for this assertion, however, and it is mere supposition. Moreover, the
                    11 cases cited by the State of Qatar are inapposite; each addresses potential injunctive
                    12 relief against the United States based on concerns of harm to the United States’ own
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                    13 established procedures, officers, and agencies. See, e.g., Kemet Elec. Corp. v.
                    14 Barshefsky, 21 Ct. Int’l Trade 701, 710 (1997) (regarding a preliminary injunction
                    15 against a Presidential proclamation); Ibrahim v. Gonzales, 633 F. Supp. 2d 737, 740
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                    16 (W.D. Mo. 2007) (regarding a preliminary injunction concerning an FBI
                    17 investigation); Milena Ship Mgmt. Co. v. Newcomb, 995 F.2d 620, 623 (5th Cir.
                    18 1993) (regarding a preliminary injunction concerning an order from the U.S.
                    19 Department of the Treasury). Plaintiff cites no case supporting the proposition that
                    20 the interest of a foreign state in continuing illegal activity outweighs the rights of
                    21 United States citizens targeted by that foreign state.
                    22                4.    No Bond Should be Required
                    23         The State of Qatar does not challenge Plaintiffs’ argument that the State of
                    24 Qatar will suffer no legally cognizable harm if forced to cease its illegal activity.
                    25 Rather, it argues that the Court should impose a bond as a condition of Plaintiffs’
                    26 temporary restraining order because “Plaintiffs have failed to articular any harm
                    27 they would suffer from posting a bond.” Qatar Opp. 14:13-14. This argument gets
                    28                                             -8-
                           REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
                                 ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION, AND ORDER GRANTING EXPEDITED
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                     1 the analysis for imposing a bond backwards: A “district court may dispense with
                     2 the filing of a bond when it concludes there is no realistic likelihood of harm to the
                     3 defendant from enjoining his or her conduct.” Jorgenson v. Cassiday, 320 F.3d 906,
                     4 919 (9th Cir. 2003) (emphasis added).
                     5           D.    The State of Qatar Has No Basis for Opposing Expedited Discovery
                     6                 Against Defendants Stonington Strategies, LLC and Nicolas Muzin
                     7           Plaintiffs do not seek expedited discovery from the State of Qatar. The State
L L P




                     8 of Qatar nonetheless purports to oppose Plaintiffs’ efforts to seek expedited
                     9 discovery from Defendants Muzin and Stonington, arguing that the requests were
F L E X N E R




                    10 not sufficiently limited. This argument fails.
                    11           First, the State of Qatar has no legitimate interest in opposing discovery from
                    12 other defendants. Although it argues that “the requested information . . . would be a
S C H I L L E R




                    13 significant intrusion into Defendant State of Qatar’s affairs with Defendant Muzin
                    14 and others,” Qatar Opp. 15:23-24, it provides no evidence or explanation of such
                    15 intrusion, and fails to offer any cognizable legal basis for its objection. In the
B O I E S




                    16 absence of an applicable privilege, the State of Qatar’s amorphous concerns about
                    17 discovery of Defendants Muzin and Stonington are irrelevant.
                    18           Second, Plaintiffs’ requests are narrow in scope and in time, covering only
                    19 Muzin and Stonington’s relationship with the State of Qatar since mid-20175;
                    20 Plaintiffs seek discovery to help end the ongoing breach of Plaintiffs’ privacy
                    21
                         5
                         Although the State of Qatar argues that there is no time limitation on the requests
                    22 to Defendants Muzin and Stonington, Qatar Br. 15:11-12, Plaintiffs’ request for the
                    23 production of documents from Muzin and Stonington is expressly limited to “[t]he
                       time period . . . from May 1, 2017 to the present.” Exhibit 23 to Declaration of Lee
                    24 Wolosky at 6 [ECF No. 31-9 at 123]. In addition, the Declaration of Lee Wolosky to
                    25 which all three of Plaintiffs’ discovery requests were attached as exhibits stated that
                       the requests “only asked [Stonington and Muzin] to produce files and answer
                    26 questions about [their] work for Qatar (which appears to have begun in June 2017).”
                    27 Wolosky Decl. ¶ 19 [ECF No. 31-8 at 7].
                    28                                               -9-
                             REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
                                   ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION, AND ORDER GRANTING EXPEDITED
                                                                                                          DISCOVERY
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                     1 through the release of hacked emails;6 and the burden on Muzin and Stonington will
                     2 be minimal. Although Plaintiffs’ 30(b)(6) notice of deposition of Stonington does
                     3 not contain a date range, it provides Stonington with the information it would need
                     4 to designate a person with knowledge of “the matters for examination.” Fed. Rule
                     5 Civ. P. 30(b)(6). Moreover, Plaintiffs would be willing to stipulate that, other than
                     6 background matters, the “matters for examination” would also be limited by date,
                     7 from May 1, 2017 to the present.
L L P




                     8 II.       CONCLUSION
                     9            For the foregoing reasons, and the reasons outlined in the Plaintiffs’
F L E X N E R




                    10 Memorandum of Points and Authorities in Support of Plaintiffs’ Ex Parte
                    11 Application for a Temporary Restraining Order, Order to Show Cause for a
                    12 Preliminary Injunction, and Order Granting Expedited Discovery, Plaintiffs
S C H I L L E R




                    13 respectfully ask this Court for the relief requested in Plaintiffs’ application.
                    14 DATED: April 4, 2018                     Respectfully submitted,
                    15
B O I E S




                    16                                          BOIES SCHILLER FLEXNER LLP
                                                                LEE S. WOLOSKY
                    17
                    18
                    19
                                                                By        /s/ Lee S. Wolosky
                    20
                                                                      LEE S. WOLOSKY
                    21                                                Attorneys for Plaintiffs
                    22
                    23
                    24   6
                        Expedited discovery will allow this Court to have a fuller review of the facts in this
                    25 matter. “In cases where preliminary injunction motions are pending, courts often
                       permit expedited discovery designed to obtain information required for the
                    26 preliminary injunction.” Palermo v. Underground Sols., Inc., No. 12CV1223-WQH
                    27 BLM, 2012 WL 2106228, at *2 (S.D. Cal. June 11, 2012).
                    28                                               -10-
                             REPLY MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER,
                                   ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION, AND ORDER GRANTING EXPEDITED
                                                                                                          DISCOVERY
